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                            United States District Court
                           Southern District of New York

 United States of America,

                     Plaintiff,

 v.                                            Case No. 1:14-cr-00068-LGS

 Ross William Ulbricht

                     Defendant.

            DECLARATION IN SUPPORT OF MOTION FOR
                  ADMISSION PRO HAC VICE

       I, Zachary Lee Newland, submit this Declaration in Support of Motion for

Admission Pro Hac Vice on behalf of Ross William Ulbricht. As required by the Local

Rules, this declaration is provided in support of Ulbricht’s motion for admission pro

hac vice of Zachary Newland. I, Zachary Lee Newland, declare under penalty of

perjury, that the following is true and correct to the best of my knowledge,

information, and belief:

       1.    My name is Zachary Lee Newland, I am over the age of eighteen, of

sound mind at the time of making this declaration, and personally familiar with the

facts and circumstances at issue in this declaration.

       2.    This declaration is provided pursuant to Rule 1.3(c) of the Local Rule of

the United States Courts for the Southern and Eastern Districts of New York, in

support of my application for an order for admission to practice pro hac vice and

appear as counsel for Mr. Ross Ulbricht, Defendant in the above-captioned case.

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        3.        I am a member in good standing of the Bar of the state of Texas and

the state of Colorado. I am admitted to practice before the following courts:

Name of State or Court           Bar Number     Date Admitted          Bar or Court Status

Texas State Bar                     24088967           12/12/2013      Active

Colorado State Bar                   52305             09/25/2018      Active

Supreme Court of United States       308608            02/25/2019      Active

DC Circuit Court of Appeals           N/A              11/15/2016      Active

5th Circuit Court of Appeals          N/A              7/20/2016       Active

7th Circuit Court of Appeals          N/A              11/14/2016      Active

9th Circuit Court of Appeals          N/A              5/14/2018       Active

10th Circuit Court of Appeals         N/A              4/20/2018       Active

11thCircuit Court of Appeals          N/A              07/10/2018      Active

Northern District of Texas            N/A               4/1/2016       Active

Southern District of Indiana          N/A              7/14/2016       Active

Southern District of Illinois         N/A              07/25/2018      Active

Northern District of Illinois         N/A              08/06/2018      Active

Central District of Illinois          N/A              02/04/2019      Active

District of Colorado                  N/A              01/03/2019      Active

District of Columbia U.S.            VT0002            03/04/2019      Active
District Court



        4.        I have never been convicted of a felony.

        5.        I have never been censured, suspended, disbarred or denied admission

or readmission by any court.



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